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  JACOB M. SCOTT v. WINGATE WILDERNESS THERAPY, LLC

                     Case No. 4:18-cv-002-DN

WINGATE WILDERNESS THERAPY’S REPLY MEMORANDUM IN
 SUPPORT OF MOTION TO DISMISS PLAINTIFF’S COMPLAINT

                         EXHIBIT INDEX


    Exhibit 1   Second Affidavit of Shayne Gallagher

    Exhibit 2   Letter dated February 25, 2015

    Exhibit 3   Parent Handbook

    Exhibit 4   Affidavit of Scott Hess

    Exhibit 5   Psychology Today Article

    Exhibit 6   Application for Enrollment

    Exhibit 7   Release of Confidential Information Form
